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BRIAN G. KOLFAGE, SR.; BRIAN G.
KOLFAGE, JR. also known as SENIOR
AIRMAN BRIAN KOLFAGE; ASHLEY
KOLFAGE; LOGAN ELIA,

FILED

U.S. DISTAIET GOURT
MIDDLE DISTRICT OF TENN.

Susanne Gann
Darren Remington -
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Nashville, TN 37219 BY —_
DEPUTY CLERK
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MIDDLE TENNESSEE
SUSANNE GANN and DARREN No.
REMINGTON, domestic partners,
Plaintiffs,
Vv. COMPLAINT

 

Defendants.

 

 

Plaintiffs Susanne Gann and Darren Remington (collectively, “Plaintiffs”), representing

themselves pro se, and for their Complaint against defendants Brian G. Kolfage, Sr., Brian G.

Kolfage, Jr., Ashley Kolfage, Logan Elia (collectively, “Defendants”) allege as follows:

PARTIES AND JURISDICTION
Plaintiff Susanne Gann (“Gann”) is a resident of Tennessee and is domiciled with
plaintiff Darren Remington.
Plaintiff Darren Remington (“Remington”) is a resident of Tennessee and is domiciled
with Gann.
Defendant Brian G. Kolfage, Sr. (“Kolfage Sr.”) is a resident of Michigan and is the
father of defendant Brian G. Kolfage, Jr.
Defendant Brian G. Kolfage, Jr. (“Kolfage Jr.””) is a resident of Arizona and is the son of

Kolfage Sr., and is married to defendant Ashley Kolfage.

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Defendant Kolfage Jr. is also known by the names Senior Airman Brian Kolfage and
Airman Kolfage.

Defendant Ashley Kolfage (“A. Kolfage’) is a resident of Arizona and is married to
Kolfage Jr.

Defendant Logan Elia (“Elia”) is a resident of Arizona and is an attorney of record for
Kolfage Jr. and A. Kolfage.

GENERAL ALLEGATIONS REGARDING GANN AND REMINGTON
Gann is a graduate of the University of Mississippi, at Oxford, Mississippi, with a
Bachelor of Arts degree. She graduated with a major in Accounting from the
Patterson School of Accountancy, one of the top ten schools of Accounting in the
nation, and a minor is Real Estate.

Gann graduated with an above-average 3.10 cumulative Grade Point Average
(GPA). She was also named to the Dean's List multiple times, while attending the
University.

Gann is recently attempting to re-enter the full-time workforce, having given birth
in July, 2012, and enduring a number of post-partum medical issues, including a
debilitating incisional hernia which was a months-long complication of her
delivery by caesarean section.

Gann's ability to successfully pursue a career in the Accounting profession is
dependent upon her reputation for honesty and good moral character. She markets
not only her talent and experience, but her personal ethic and principles as well.
Gann conducts herself with honor, dignity, and integrity.

Gann works hard to maintain this reputation, specifically including her reputation
online.

Remington is a Military Veteran with just over 10 years of military service. He

originally enlisted in the U.S. Army on his 17" birthday in 1983, the earliest date

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possible for him to enlist. Remington transferred to the U.S. Air Force (USAF) effective
August 23, 1985.

He was promoted to the rank of Staff Sergeant in the USAF in May, 1990. This rank is
superior to the highest rank attained by Kolfage Jr. and is awarded based on meritorious
service and not simply “Time-In-Grade/Time-In-Service” as was the highest rank
attained by Kolfage Jr.

During his service with the USAF, Remington was trained and qualified in two
occupational specialties, also known as Air Force Specialty Codes (AFSC). For both of
those specialties, he was selected as “Honor Graduate” at the Technical Training
Schools. Being selected as “Honor Graduate” for one AFSC is rare. Being selected
twice for two different specialties is almost unheard of.

Remington held the highest security clearance (Top Secret) with special designator
SIOP/ESI. This clearance was required for the performance of his duties with the Joint
Strategic Target Planning Staff (JSTPS) and gave him access to the United States’ most
closely guarded nuclear secrets.

Remington separated from active duty with an honorable discharge on April 1, 1993.
Since departing active duty, Remington has pursued a vocational career as an
information technology (IT) professional, continuing to use his experience and
expertise with computer systems gained as a Communications/Computer Systems
Programming Specialist for the USAF. He has worked in all areas of software
development including, but not limited to, Computer Security and Information Security.
Remington has had a lifelong interest in political history in the United States. As a
registered Republican, he describes himself as an “Eisenhower Conservative”.
Remington is a lifelong Christian with a longtime interest in the history of the Bible.
Remington's ability to successfully continue to pursue a career in his chosen

profession is dependent upon his reputation for honesty and good moral character.

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He markets not only his talent and experience, but his personal ethic and principles
as well.
Remington conducts himself with honor, dignity, and integrity.
Remington works hard to maintain this reputation, specifically including his
reputation online.

GENERAL ALLEGATIONS REGARDING DEFENDANTS
Plaintiffs incorporate the previous allegations as though set forth completely herein.
Under information and belief, the list of administrators for Kolfage Jr.'s autonymous
Facebook page (see https://www.facebook.com/BrianKolfage ) includes Kolfage Sr.,
who also has his own autonymous Facebook page.
“Stolen Valor” is an illegal act regarding the lying about, exaggerating or otherwise
misrepresenting military service, awards, decorations and/or rank. It is an all-too-
common occurrence among non-veterans and military veterans alike which many
veterans like Remington take as a personal insult to their own military service. The
Supreme Court has determined that claiming “stolen valor” is protected as free speech
unless used to receive tangible benefit such as (but not limited to) free meals, free
tickets, or actual money.
There is a group of military veterans who have banded together to detect, investigate
and expose perpetrators of “stolen valor”. This group operates the Facebook community
page, “Stolen Valor” (see https://www.facebook.com/StolenValor ). There is an

associated webpage called “This Ain’t Hell” (see http://thisainthell.us/blog/ ) which

 

assists in investigating and facilitates discussion among veterans and interested
members of the public regarding possible cases of “stolen valor”. A cursory review of
either site demonstrates that “stolen valor” is just as likely to be committed by actual
military veterans (including “disabled veterans”) as by non-veterans.

It is through an entry on the “This Ain’t Hell” website that Remington first became

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aware of Kolfage Jr. This entry highlights postings made to Kolfage Jr’s autonymous
Facebook page, which Kolfage Sr. also manages, which encourages active duty
servicemembers to disobey orders and commit mutiny. This entry also contains
discussion by several veterans of what they view as unacceptable conduct by Kolfage
Jr. (see http://thisainthell.us/blog/?p=37377 ).

Under information and belief, contrary to public characterizations by the defendants,
Kolfage Jr’s military service was unremarkable and undistinguished. He was never
promoted based on merit but only on the basis of "Time-in-Grade/Time-in-Service" as
is normal for low-ranking enlisted personnel.

Under information and belief, by Kolfage Jr.'s own admission, he was only wounded in
the first place because he harassed and intimidated a fellow airman in order to take his
place at Balad Air Base.

Under information and belief, there is no evidence publicly available to support
Kolfage Jr.’s claim that he is "the most seriously injured airman in United States history
who survived." This is a claim that Kolfage Sr. has repeatedly promoted as some sort of
fact that has been verified by the U.S. military. There is no credible methodology or
mechanism existing to verify such absurd, unquantifiable and subjective claim. In fact,
while Kolfage Jr. is in fact a “triple amputee”, Mr. Clarence “Red” Mosley was an
airman who served in the US Air Force during the Korean War and was so severely
wounded that he lost both hands and legs, becoming a quadruple amputee. Mr. Mosley
was obviously more severely wounded than Kolfage Jr. and he survived his wounds to
live a full life until his death in 2011.

Under information and belief, Kolfage Jr. has impersonated superior rank on at least
one occasion.

Under information and belief, contrary to the rules of military law, known as the

Uniform Code of Military Justice (UCMJ), Kolfage Sr. and Kolfage Jr. also refuse to

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place an indicator of Kolfage Jr’s retired status with his rank on his autonymous
Facebook page.

Under information and belief, contrary to the UCMJ, Kolfage Sr. and Kolfage Jr. also
refuse to remove Kolfage Jr’s picture, portraying him in full service dress uniform,
from his autonymous Facebook page which is rife with extreme and incendiary political
statements.

Under information and belief, as part of his political activities, Kolfage Jr. has on more
than one occasion publicly encouraged active duty servicemembers to commit mutiny
and disobey lawful orders. This, by the very definition of the word, is sedition. It has
also been noticed by members of the public at large that Kolfage Jr. has portrayed the
nature of his military service in a seemingly deceptive light.

Under information and belief, Kolfage Jr. has lied about the nature of his military
service, making claims that he was trained as a pilot but served as an "Army
policeman".

According to Kolfage Jr. and A. Kolfage’s own public statements, Kolfage Jr. initiated a
sexual relationship with A. Kolfage on their first date in early 2008. Kolfage Jr.'s first
wife, Paige Kolfage, formerly a resident of AZ, petitioned for divorce in December,
2009. From these facts, Kolfage Jr. was engaged in an extramarital affair for almost 36
months prior to being divorced from his first wife, Paige, in 2011.

As a recipient of a military pension, the medically retired Kolfage Jr. is still subject to
the jurisdiction of the UCMJ. Adultery is a violation of the UCMJ.

Under information and belief, even as recently as July 14, 2014, Kolfage Jr. has passed
the creative work of another person as his own creation in a blatant act of plagiarism.
Under information and belief, Kolfage Jr. operates under a definition of integrity
differing from the generally accepted convention. By his own admission, the

Department of Veteran's Affairs (VA) has determined that Kolfage Jr. illegitimately

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received over $4800 in benefits to which he was not entitled. He has further alleged that
the VA admitted to him that this was due to a clerical error. Kolfage Jr. has not made
any such admission by the VA publicly available and the VA is forbidden by law or
regulation from commenting outside a court of law on such matters. Subsequent to the
earlier admissions by Kolfage Jr., he has most recently claimed that the VA has
increased that determination of unentitled benefits to $7000. This is hardly the result
one would expect from correcting a "clerical error".

Under information and belief, defendants operate an alleged charity as an apparently
unregistered business enterprise consisting solely of Kolfage Jr. and A. Kolfage. The
enterprise has not applied for 501(c)(3) status and as there appears to be no organization
behind it, the enterprise does not appear to qualify for such status. Defendants have
refused to make a public accounting of expenditures and donations of the enterprise,
contrary to normal practice for legitimate charities while also disqualifying it for
501(c)(3) status.

Under information and belief, the name of defendants’ alleged charity is "Wounded
Warrior Mentoring Engagements". This name is very similar, as to be almost identical,
to a legitimate registered charity named "Wounded Warrior Mentoring Project". To the
untrained eye, there is a great potential for "brand confusion". Such brand confusion
could possibly lead to fewer donations to the legitimate, more established, older
"Wounded Warrior Mentoring Project".

Under information and belief, Kolfage Jr. has alleged that he started the business
enterprise as a solo venture, instead of joining with other more established charities,
due to decreased funding from the VA for such ventures. This allegation by the .
defendant is uncorroborated by other entities of similarly stated purpose as the
defendant's business venture, such as the Wounded Warrior Mentoring Project.

Under information and belief, the activities conducted by the Kolfage Jr. as part of his

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business venture appear to be primarily public speaking, "whirlwind tours" of overseas
locations and other such public appearances. Mentoring traditionally involves long-term
one-on-one relationships. With defendant’s schedule of classes, homework, and public
appearances there does not appear to be any mentoring having occurred. As
"Mentoring" is included in the name of the enterprise, this could be construed as a
deceptive trade practice.

Under information and belief, in addition to the autonymous Facebook page listed
above, Kolfage Jr. is also administrator of the currently defunct "Team Kolfage Against
Bullying" Facebook page (TKAB). Through the TKAB attack page, numerous
harassing and/or defaming posts aimed at Remington were made, in an attempt to get
him fired from his job (see https://www.facebook.com/pages/Team-K olfage-A gainst-
Bullying/ ).

Under information and belief, Kolfage Jr.’s attitude toward people of different religious
beliefs, other than his own, is one of contempt and derision.

Under information and belief, Kolfage Jr. has used his Twitter account to harass,
intimidate and/or defame individuals he disagrees with. This includes the whole-cloth
fabrication of fake posts which he attributes to such individuals.

Under information and belief, Kolfage Jr.’s autonymously named Facebook page and
Twitter account have both been suspended at least once for violations of providers’
standards of proper conduct.

Under information and belief, Kolfage Jr. was involved in the operation of at least one
fake Facebook profile impersonating Louis Anthony Caponecchia (“Caponecchia”).
Such profile was used to attack Gann, threatening to kill Gann’s infant daughter, Alana,
posting “Such a cute baby. I wonder how she’d look in a tiny casket” in reference to a
picture of Alana posted on Gann’s and Remington’s pseudonymous Facebook profiles.

As part of the campaign to harass, intimidate and place Gann in a false light, while

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aiding and assisting Kolfage Jr. in rehabilitating his online image, Elia has composed

and filed a nuisance Civil Complaint CV2014-003746 (“AZ Complaint”) with the

Maricopa County District of the Arizona Superior Court naming Remington as one of
seven defendants. As of the date of filing this complaint, service against Remington has
not been perfected for the AZ Complaint and therefore the AZ Complaint does not yet
comprise an actual action as far as concerns this Court.

On Feb 12, 2014, Gann and Remington became aware of a fake Facebook page which
was set up to harass them both and a corresponding false profile page impersonating
Remington. The contents of these two pages were clearly intended to harass Gann and
Remington - publishing private photos and personal information along with
inflammatory and false accusations. Among the items harassing Gann was a screen
capture of part of a background check on her, making a false accusation of criminal
wrongdoing on Gann's part. Gann’s full legal name was made public, though it had not
previously been publicly available through her pseudonymous Facebook page.
Plaintiffs’ home address was also posted along with a map to their home. Pictures of
Gann’s infant daughter, Alana Remington, were included in a collage with Gann’s
image in an erotic pose with images of goats superimposed to imply bestiality and child
abuse.

Gann noticed that one of the pictures posted was a screenshot made by someone using
her Facebook account. This confirmed a threatening message (“PM”’) sent to
Remington on Jan 24, 2014, from a "fake" Facebook profile which had impersonated
Caponecchia’s mother, Margret Caponecchia, and has been alleged to be used by
Kolfage Sr. This fake Facebook profile also used Gann’s surname in a blatant act of
harassment.

A screen capture of an excerpt of that "Private Message" (“PM”) conversation (referred

to in paragraph 52) was posted to the Kolfage Jr.'s autonymous Facebook page,

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indicating that Kolfage Sr. and Kolfage Jr. had direct access to the account which

admitted hacking Gann’s Facebook profile and supporting the conclusion that the
Kolfage family was using that account to harass and attack Remington and other
Facebook users, including Caponecchia.

Under information and belief, both Kolfage Sr. and Kolfage Jr. have confirmed
themselves to be administrators of Kolfage Jr.’s autonymous Facebook page.

The private and personal information which was acquired illegally through Gann's
"hacked" Facebook account, was misused by Kolfage Jr. on his autonymous Twitter
page, along with posting false accusations of "leaking" sensitive information, blatantly
harassing Remington in a malicious attempt to get Remington fired from his job at
FedEx, and violating Remington’s copyright to said image. Defendants have offered no
plausible explanation outside of illegally accessing Gann's “hacked” account on how
they made the connection of Remington's pseudonymous Facebook page to
Remington's legal name.

Under information and belief, Kolfage Sr. also harassed and defamed Remington, in
further attempts to get Remington fired, through various incendiary posts to the
currently defunct TKAB attack page. Kolfage Jr. has admitted to controlling the TKAB
attack page.

On March 6, 2014, Remington was informed that A. Kolfage was using/controlling the
fake "Darren Remington" profile. This same fake profile was used to contact
Remington's family in Florida, through Facebook on February 14, 2014. This was
clearly intended to harass Remington through other members of his family. In April,
Remington was informed by Jori Remington that her gmail account had been
compromised, or "hacked", by someone in AZ. Both Kolfage Jr. and A. Kolfage
currently are residents of AZ.

Subsequent to the removal of the first fake profile and impersonation page, at least a

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half-dozen fake profiles and harassing pages have been created and subsequently

removed by Facebook, as they have been discovered, for violating Facebook’s
standards of proper conduct. These accounts have been used to post the same harassing
material as published on the original fake profile and harassing page, and which had
been misused by Kolfage Sr. and Kolfage Jr.

The most recent harassing page to be removed for violating Facebook standards of
conduct was a page named "Big Juan". The page was removed in April, 2014. The
"cover photo" for the page featured only eight individuals to include Gann plus the
seven named defendants in the AZ Complaint (see paragraph 50). “Big Juan” was also
the name of a Mexican restaurant chain with two locations in Tucson, AZ, where
Kolfage Jr. and A. Kolfage reside. The chain was opened in March, 2012, and
announced its closure in January, 2013. Shortly before being removed, the page was
renamed “Big Juan Prager” and more pictures were posted of John Prager’s family, as
culled from Facebook, Myspace, and other Internet sources. This clear violation of
Prager’s copyright was another thinly veiled attempt of harassment, intimidation and
coercion. Prager is one of the seven named defendants in the AZ Complaint.
Remington subsequently discovered an account on the career networking site,
LinkedIn, using Remington's name and listing their location as Hawaii, where Kolfage
Jr. is known to have resided with his mother. The account was created on or about the
date that Remington was alerted to the first imposter Facebook profile in February.
Under information and belief, Gann and Remington are not the only victims of
defendants’ harassment. Other victims include (but are not limited to) Jan Vrotsos,
Bryan Andrew Klaves, Kristi Shields, and Mike A Duncan.

Under information and belief, regarding Jan Vrotsos, Kolfage Sr. and Kolfage Jr. posted
fabricated screen captures, claiming them to be legitimate screen captures of statements

by Ms. Vrotsos. Kolfage Sr. and Kolfage Jr. claimed that the screen shots had been

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confirmed to be legitimate by various law enforcement agencies. It was later revealed

that the screen shots had never even been examined by law enforcement agencies on
behalf of any of the defendants. As a result of the defendant’s posting Ms. Vrotsos’
home address and phone number to Kolfage Jr.’s autonymous Facebook page, Ms.
Vrotsos and her elderly mother received hundreds of phone calls and email messages
threatening both of them (and their dog) with death.

Under information and belief, regarding Bryan Andrew Klaves, defendants claimed that
Mr. Klaves had "attacked" Kolfage Jr. online, and proceeded to foment a vigilante
mindset to get Mr. Klaves fired from his job with the VA.

Under information and belief, regarding Kristi Shields, Kolfage Sr. and Kolfage Jr.
presented fabricated screen captures, claiming them to be legitimate screen captures of
statements by Ms. Shields, and fomenting a vigilante mindset among his many
thousands of internet followers to create a situation similar to what happened with Ms.
Vrotsos and Mr. Klaves. Defendants urged Kolfage Jr.’s followers to “Make her
famous” which was obviously a thinly veiled threat of harassment and intimidation.
Under information and belief, regarding Mike A Duncan, while making a public call to
victimize Mr. Duncan in similar manner as Ms. Vrotsos, Mr. Klaves and Ms. Shields,
Kolfage Sr. and Kolfage Jr. proudly claimed that they believe in "street justice”.
Defendants posted Mr. Duncan’s home phone and address to defendant’s autonymous
Facebook page in a clear attempt to encourage his thousands of internet followers to
harass Mr. Duncan. It should be noted that Mr. Duncan is a 20-year veteran of the
USAF, retiring with the rank of Technical Sergeant, a rank superior to that of either
Remington or Kolfage Jr. and had no previous interaction with defendants. The critical
Facebook posts that defendants took offense to were made by Tami Duncan, Mr.
Duncan’s spouse, using her own autonymous Facebook profile.

Under information and belief, Kolfage Sr. and Kolfage Jr. have confirmed their

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involvement in such domestic terrorism as described in paragraphs 62 to 65.

Defendants have stated, “... they said mean stuff, so I exposed them and all their info.”
By these actions, defendants have demonstrated that they have no compunction about
recklessly disregarding the law to seek revenge for perceived wrongs, no matter how
slight. People who are not mentally disturbed would go to the police, or report such
offensive material to the site administrators where the content is found, actions that
defendants failed to take because the critical posts that the defendants have taken
offense to are neither criminal nor inappropriate.

Under information and belief, defendants’ online behavior, through autonymous
Facebook and Twitter pages, and other Facebook pages demonstrate a pattern of serial
harassment and intimidation.

Remington's involvement with defendants began on or about January 10, 2014, when
he encountered a posted entry on the “This Ain’t Hell” website (see
http://thisainthell.us/blog/?p=37377 ) outlining Kolfage Jr.’s calls for mutiny among
active duty servicemembers.

Through that blog entry, Remington found Kolfage Jr.’s autonymous Facebook page
and commented on one of the more blatantly deceptive and untrue memes posted by the
defendant. Defendants proceeded to promptly ban Remington from the autonymous
Facebook page. That meme, along with all accompanying comments, has since been
removed from public view.

The “Urban Dictionary” defines a meme as “a pervasive thought or thought pattern that
replicates itself via cultural means”

(source: http://www.urbandictionary.com/define.php?term=meme ). On Facebook, it is
common to express such ideas using a picture with a short textual quote or caption
overlayed or otherwise incorporated into the picture, similar to political cartoons

printed in newspapers. This is referred to by Facebook users as a “meme”.

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Referred by an entry on the “Stolen Valor” Facebook page, Remington then
encountered one of Caponecchia's pages and viewed the harassment and bullying that
Caponecchia had been subjected to by Kolfage Sr., A. Kolfage’s father, Art Goetz, and
an anonymous email account ("snomad700@yahoo.com") on behalf of, and of benefit
to, defendants Kolfage Jr. and A. Kolfage.

On Jan 10, 2014, Remington sent an email to "snomad700" to deliver a message to
Kolfage Sr., and Art Goetz, suggesting that they immediately cease the harassment and
bullying of Caponecchia. The IP address of the response from “snomad700” indicates
that it was sent from somewhere near Dearborn, MI, where Kolfage Sr., is known to
reside. An “IP Address” is a unique identifier of a computer connected to a computer
network, such as the Internet.

The harassment of Gann started on February 12, 2014, when the first fake pages
impersonating Remington were published on Facebook. Gann has had no direct
interaction with defendants and such harassment was clearly intended to silence and
intimidate Remington by harassing and embarrassing his close friends and family
members. The harassment of Gann includes the public posting of her home address,
with a map showing the location; the public posting of personal telephone numbers; the
public posting of other personal, sensitive information. The information was posted in
such manner as to maliciously and wrongfully imply Gann was involved in criminal
activities.

Under information and belief, the three principle people involved in the illegal
"hacking" of Gann's Facebook account and subsequent harassment of Gann and
Remington are: Kolfage Jr., A. Kolfage, and Kolfage Sr.

Under information and belief, Kolfage Sr. and Kolfage Jr. have frequently posted public
statements of a political nature that clearly identify them as aligned with the extreme

right wing of the political spectrum in the United States. Elia has also posted

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information publicly that indicates he is aligned with and of the same extreme political

beliefs as Kolfage Sr. and Kolfage Jr.

Elia has composed and filed the AZ Complaint as part of the campaign to harass and
intimidate Gann through attacking and defaming Remington, while aiding and assisting
Kolfage Jr. in rehabilitating his online image. He has clearly lied to the media about the
nature of the lawsuit as he stated in an interview with the media on June 06, 2014, that
his intent was to get the “harassment” and “lies” about Kolfage Jr. and A. Kolfage to
stop. Elia did not send any “cease and desist” letters to the named defendants in the AZ
Complaint, as would be customary if his intent truly were to simply stop what they have
portrayed as harassment.

Under information and belief, Kolfage Jr.’s family and followers have been
encouraging Kolfage Jr. to pursue a political career, even the Office of the President of
the United States. The negative, yet accurate, information which Kolfage Jr. wishes to
have removed from the internet by means of the AZ Complaint would preclude the
furtherance of such political aspirations.

By and through the baseless AZ complaint, Elia is furthering the campaign of
harassment and intimidation of Gann by attacking Remington. As a licensed attorney in
the state of Arizona, Elia knows, or should know, that a "False Light" tort applies to
private non-public individuals, such as Gann and Remington, and not public figures
such as the defendants. The lifestyle and daily activities of the defendants, as described
by the defendants in the AZ complaint and in published interviews, are clearly that of
public figures.

There may be others involved that Gann and Remington are currently unaware of and
who will be impleaded as additional defendants as further information is made available
through the discovery process for this action.

The information and averments contained in paragraphs 42 to 65 have been included in

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Criminal Complaint XX-XXXXXXX, filed by Gann and Remington with the local Police

Department here in Davidson County, naming Kolfage Jr., A. Kolfage and Kolfage Sr.
as principle suspects. The criminal complaint outlines how Gann's Facebook account
was “hacked” (a federal crime, as well as a crime in the states of TN and AZ) and that
illegal access led to the disclosure of Gann’s full, legal name which was not accessible
or available from Gann’s pseudonymous Facebook account. The illegal access also led
to the disclosure of Remington’s full, legal name which was not otherwise accessible or
available to the public through Remington’s pseudonymous Facebook account. The
defendants have yet to explain with any plausibility how they made the connection
between Gann’s legal identity and her pseudonymous Facebook profile, or how they
made the connection between Remington’s legal identity and his pseudonymous
Facebook profile. The fact that they made use of private, personal information that was
not otherwise available is unconscionable and offensive.

That Elia has facilitated the persistent campaign of harassment, intimidation

and defamation by and through filing the AZ Complaint is unacceptable for

any officer of the court. It is especially troubling that Elia has utterly failed to

do his due diligence before presenting the AZ Complaint to the Court in

Arizona. That he intends to try that case in the media instead of in court is

evidenced by the dozens of Internet articles referencing that case (posted even

before all defendants have been served) such as found at

a.) http://www.roselawgroup.com/rlgers/rose-law-group-litigation-cyber-law-
attorney-logan-elia-tells-fox-10-suit-facebook-bullies-video.html ,

b.) http://www.roselawgroup.com/rlgers/disabled-vet-ua-student-sues-
facebook-posters-smear-campaign-represented-rose-law-group-cyber-law-

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c.) http://tucson.com/news/local/veteran-s-social-media-suit-seeks-to-define-

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d.) http://www.military.com/daily-news/2014/07/08/air-force-vet-in-social-
media-lawsuit.html?comp=1199436026997 &rank=1 ,
e.) The media coverage has reached as far east as Boston:
http://www.myfoxboston.com/story/25971722/2014/07/08/valley-military-vet-
files-lawsuit-against-online-bullies
Defendants are also attempting to try the AZ Complaint in the media from Kolfage Jr.’s
newly re-launched political website http://www.woundedamericanwarrior.com/triple-
amputee-war-veteran-brian-kolfage-law-suit-filed/ . Such activities by defendants will
make any fair hearing for the named defendants in the AZ Complaint impossible as
defendants named in this Complaint have severely poisoned any potential jury pool.
To be clear, the local media in Arizona was provided with an electronic copy of the AZ
Complaint (sans any complaint number) before the first defendant named in the AZ,
complaint had been served, even before the AZ Complaint had been filed with the AZ
Court.
As of the date of filing this complaint, service against Remington has not been
perfected for the AZ Complaint and therefore the AZ Complaint does not yet comprise
an actual action as far as concerns this Court.

FIRST CAUSE OF ACTION

(Civil Conspiracy)

Plaintiffs incorporate the previous allegations as though set forth entirely herein.
A “civil conspiracy” is defined as a "combination between two or more persons to
accomplish by concert an unlawful purpose, or to accomplish a purpose not in itself
unlawful by unlawful means, Participating in a civil conspiracy is not an independent
tort. It is a derivative claim that requires the existence of an underlying tort or wrongful

act committed by one or more of the conspirators in furtherance of the conspiracy.”

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Birmingham-Jefferson County Transit Auth. v. Boatright, 2009 U.S. Dist. LEXIS
74021, 13-14 (M.D. Tenn. Aug. 20, 2009).

Each conspirator is jointly and severally liable for each act done by the other
conspirators. Klistoffv. Superior Court, 157 Cal. App. 4th 469 (Cal. App. 2d Dist.
2007).
It is not necessary to prove individual conspirators were involved in all aspects of the
conspiracy or that they knew all of the details involved.
Defendants’ behavior and actions as set forth above demonstrate a concerted effort to
harass, defame and otherwise intimidate Gann and Remington into remaining silent
regarding the objectionable activities and public statements of Kolfage Jr. On its face,
this is a conspiracy per se.

SECOND CAUSE OF ACTION

(False Light)

Plaintiffs incorporate the previous allegations as though set forth entirely herein.
Defendants’ behavior as set forth above has given publicity to matters concerning
Plaintiffs in such a way as to place Plaintiffs before the public in a false light.
The false light, including but not limited to portraying Plaintiffs as criminals, liars,
cheats, and sexual deviants, is highly offensive to Plaintiffs and other reasonable
people.
Defendants’ statements constitute a major misrepresentation of Plaintiffs’ character,
history, activities and beliefs.
Defendants had knowledge of or acted in reckless disregard as to the falsity of the
publicized matter and the false light in which they placed Plaintiffs.
The Plaintiffs were placed in the false light in furtherance of the objective of the
conspiracy as outlined in the First Cause of Action.

THIRD CAUSE OF ACTION

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(Defamation)

Plaintiffs incorporate the previous allegations as though set forth entirely herein.

The Defendants have made statements regarding Gann and Remington as set forth
above.

Defendants published these statements to third parties by posting them online.
Defendants’ statements are false.

Defendants’ statements are defamatory.

When Defendants posted their statements on the internet, they acted with actual malice
and knew that the statements were false and defamatory.

In the alternative, when Defendants posted their comments on the internet, they acted
with a reckless disregard for whether the statements were false and defamatory.

In the alternative, when Defendants posted their comments on the internet, they acted
with a negligent disregard for whether the statements were false and defamatory.
Defendants posted their comments on the internet in a purposeful attempt to damage
Plaintiffs’ good name, reputation, and prospects for present and future employment.
Defendants’ statements have harmed, and are continuing to harm, Plaintiffs’ good
name, reputation, and prospects for present and future employment.

Defendants’ statements deter third persons from associating or dealing with Plaintiffs.
Defendants’ statements have brought Plaintiffs into contempt or ridicule.

Defendants’ statements have impeached Plaintiffs’ honesty, integrity, virtue, and
reputation.

Some of Defendants’ statements allege criminal activity and are defamatory per se.
Plaintiffs will continue to be harmed by Defendants’ comments until they are de-
indexed from major internet search engines.

Plaintiffs were defamed by Defendants in furtherance of the objective of the conspiracy

as outlined in the First Cause of Action.

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FOURTH CAUSE OF ACTION

(Tortious Interference of a Business Relationship)
Plaintiffs incorporate the previous allegations as though set forth entirely herein.
Remington had a valid ongoing business relationship with FedEx.
Defendants knew about that business relationship.
Defendants intentionally attempted to induce FedEx to terminate that relationship with
Remington.
Gann and Remington have suffered economic damage as a result of the termination of
that relationship.
Defendants embarked in the tortious interference in furtherance of the objective of the
conspiracy as outlined in the First Cause of Action.
FIFTH CAUSE OF ACTION
(Harassment)
Plaintiffs incorporate the previous allegations as though set forth entirely herein.
Defendants, with the malicious intent to frighten, intimidate or cause emotional distress,
did communicate with third parties by telephone, in writing or by electronic
communication, including, but not limited to, text messaging, facsimile transmissions,
electronic mail or Internet services, without legitimate purpose.
As the result of the communications referred to in paragraph 118, Gann and Remington
were frightened, intimidated and emotionally distressed.
The Defendants’ actions and statements regarding Gann and Remington as set forth
above are forms of harassment. Tennessee Statutes, § 39-17-308.
Defendants harassed Gann and Remington in furtherance of the objective of the
conspiracy as outlined in the First Cause of Action.
SIXTH CAUSE OF ACTION

‘(Intentional Infliction of Emotional Distress)

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Plaintiffs incorporate the previous allegations as though set forth entirely herein.
The conduct of the defendants is extreme and outrageous.
Defendants intended their actions to cause emotional distress.
In the alternative, Defendants recklessly disregarded the near certainty that Plaintiffs
would suffer emotional distress resulting from their conduct.
Plaintiffs have, in fact, suffered extreme emotional distress as a result of Defendants’
conduct.
SEVENTH CAUSE OF ACTION
(Misuse of Private Information)
Plaintiffs incorporate the previous allegations as though set forth entirely herein.
Plaintiffs had a “reasonable expectation of privacy” in relation to information
publicized by the Defendants via posting background reports, personal photos and other
such material on the Internet.
Defendants have no reasonable justification for the disclosure of the private information
(such as a public interest).
The Defendants’ actions and statements regarding Gann and Remington as set forth
above constitute the misuse of private information.
Defendants misused Gann’s and Remington’s private information in furtherance of the
objective of the conspiracy as outlined in the First Cause of Action.
EIGHTH CAUSE OF ACTION
(Impersonation)
Plaintiffs incorporate the previous allegations as though set forth entirely herein.
The Defendants’ actions and statements regarding Remington as set forth above include
the intentional and malicious impersonation of Remington with the intent to deceive
third parties. Tennessee Statutes, § 39-16-301.

Defendants impersonated Remington in furtherance of the objective of the conspiracy

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as outlined in the First Cause of Action.

NINTH CAUSE OF ACTION
(Copyright)

Plaintiffs incorporate the previous allegations as though set forth entirely herein.

Unauthorized reproduction (“copying”) of creative works, such as private
correspondence (as contained in “Private Messages”) or personal pictures is a violation
of the U.S. Copyright Act, 17 U.S.C. §§ 101 - 810.
The unauthorized use of pictures and creative work owned by Gann and Remington on
the part of the defendants as set forth above comprise infringement of plaintiffs’
copyrights.
Defendants infringed Gann’s and Remington’s copyrights in furtherance of the
objective of the conspiracy as outlined in the First Cause of Action.
TENTH CAUSE OF ACTION
(Abuse of Process)
Plaintiffs incorporate the previous allegations as though set forth entirely herein.
The Defendants’ actions and statements regarding Remington as set forth above include
the abuse of process, vis-d-vis the AZ Complaint.
Defendants knowingly and with malicious intent initiated the baseless AZ Complaint in
an improper venue where Remington does not have “minimum contacts”.
Defendants, with malicious intent, publicly misrepresented the objective of the AZ
Complaint against Remington.
Defendants’ Abuse of Process was executed in furtherance of the objective of the
conspiracy as outlined in the First Cause of Action.
ELEVENTH CAUSE OF ACTION
(Unauthorized Access to Computer Systems)

Plaintiffs incorporate the previous allegations as though set forth entirely herein.

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The Defendants’ actions and statements regarding Gann’s Facebook account as set forth
above include the unauthorized access to computer systems, or “hacking”. Tennessee
Statutes, §§39-14-601 - 39-14-602.

Defendants’ “hacking” of Gann’s Facebook Account was accomplished in furtherance

of the objective of the conspiracy as outlined in the First Cause of Action.

Prayer For Relief
WHEREFORE, having fully set forth their complaint, plaintiffs pray for relief from this

Court as follows:

1.

For relief under the First Cause of Action for civil conspiracy and damages arising
thereof, together with additional damages through and after the time of trial; in the
event that this matter is decided on default, plaintiffs allege that $1,200,000 is an
appropriate amount of damages;

For relief under the Second Cause of Action for false light and damages arising thereof,
together with additional damages through and after the time of trial; in the event that
this matter is decided on default, plaintiffs allege that $1,200,000 is an appropriate
amount of damages;

For relief under the Third Cause of Action for defamation and damages arising thereof,
together with additional damages through and after the time of trial; in the event that
this matter is decided on default, plaintiffs allege that $1,200,000 is an appropriate
amount of damages; plaintiffs also request a court order or judgment explicitly stating
that defendants’ statements are false and defamatory;

For relief under the Fourth Cause of Action for tortious interference and damages
arising thereof, together with additional damages through and after the time of trial; in
the event that this matter is decided on default, plaintiffs allege that $1,200,000 is an

appropriate amount of damages;

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For relief under the Fifth Cause of Action for harassment and damages arising thereof,

together with additional damages through and after the time of trial; in the event that
this matter is decided on default, plaintiffs allege that $1,200,000 is an appropriate
amount of damages;

For relief under the Sixth Cause of Action for intentional infliction of emotional
distress and damages arising thereof, together with additional damages through and
after the time of trial; in the event that this matter is decided on default, plaintiffs allege
that $1,200,000 is an appropriate amount of damages;

For relief under the Seventh Cause of Action for misuse of private information and
damages arising thereof, together with additional damages through and after the time of
trial; in the event that this matter is decided on default, plaintiffs allege that $1,200,000
is an appropriate amount of damages;

For relief under the Eighth Cause of Action for impersonation and damages arising
thereof, together with additional damages through and after the time of trial; in the
event that this matter is decided on default, plaintiffs allege that $1,200,000 is an
appropriate amount of damages;

For relief under the Ninth Cause of Action for copyright infringement and damages
arising thereof, together with additional damages through and after the time of trial; in
the event that this matter is decided on default, plaintiffs allege that $1,000,000 is an
appropriate amount of damages;

For relief under the Tenth Cause of Action for abuse of process and damages arising
thereof, together with additional damages through and after the time of trial; in the
event that this matter is decided on default, plaintiffs allege that $1,200,000 is an
appropriate amount of damages;

For relief under the Eleventh Cause of Action for unauthorized access of computer

systems and damages arising thereof, together with additional damages through and

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after the time of trial; in the event that this matter is decided on default, plaintiffs allege

that $1,200,000 is an appropriate amount of damages;

For punitive damages under common law for defendants’ malicious and willful conduct
in an amount to be proven at trial; in the event that this matter is decided on default,
plaintiffs allege that $3,600,000 is an appropriate amount of punitive damages;

For plaintiffs’ taxable costs as provided by statute;

For interest upon plaintiffs’ taxable costs at the maximum legal rate from the date
judgment is entered herein until the date such judgment is paid in full;

For plaintiff's attorneys’ fees as provided by statute and by contract in an amount to be
proven at trial;

For all other relief as this Court deems just and proper.

RESPECTFULLY SUBMITTED this 6th day of August, 2014.

/s/Susanne Gann
Susanne Gann

Plaintiff

/s/Darren Remington
Darren Remington

Plaintiff

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